           Case 1:18-bk-11919-MB Doc 7 Filed 08/01/18 Entered 08/01/18 09:56:10                                      Desc
                               Case Com Def Ntc (Manual) Page 1 of 1
                                         United States Bankruptcy Court
                                          Central District of California
In re:                                                            CHAPTER NO.:   7
Juan Rene Mejia
                                                                  CASE NO.:   1:18−bk−11919−MB

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:
A. You must cure the following within 14 days from filing of your petition:

  Statement of Related Cases (LBR Form 1015−2) [Information required by LBR 1015−2]
  Attorney Disclosure of Compensation Arrangement in Individual Chapter 7 case. [LBR 2090−1 (LBR F2090−1.1) Court Manual,
section 2.1]
  Disclosure of Compensation of Attorney for Debtor (Official Form 2030). [11 U.S.C. § 329; FRBP 2016(b)]
  Declaration by Debtor(s) as to Whether Income was Received From an Employer within 60 Days of the Petition Date [11 U.S.C. §
521(a)(1)(B)(iv)] (LBR Form F1002−1)
  Verification of Master Mailing List of Creditors [LBR 1007−1(a)] (LBR Form F1007−1)

         Other (Specify):




B. Statement of Intention for Individuals Filing Under Chapter 7 (11 U.S.C. § 521(a)(2)(A)) [must be filed within 30 days from filing
Petition (not required for corporations)] (Official Form 108)

The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                   Chapter 7   Original only

Please return the original or copy of this form with all required items to the following location:

                   21041 Burbank Blvd, Woodland Hills, CA 91367−6603
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: July 31, 2018                                                          For the Court
                                                                              Kathleen J. Campbell
                                                                              Clerk of Court
(Form mccdn − Rev 01/2018)                                                                                               7 − 1 / KO
